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Data and Methods for Estimating the Severity of Minor Impacts
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                                                 Data and Methods for Estimating
                                                    the Severity of Minor Impacts
                                                           Mark N. Bailey, Bing С. Wong, and Jonathan M. Lawrence
                                                                                                   Maclnnis Engineering Associates Ltd.




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ABSTRACT
                                                                                                t|            ,    ~       m
    Front, rear, lateral and side-swipe collisions were                                     M , HjT ~ I c=2
staged to correlate passenger vehicle damage to
motion. Data from the staged collisions are used to
                                                                                              ]
                                                                                                  i Lt HjT t л
                                                                                                  A       [   ]   A    [   Г^1
develop severity-prediction methods for the four
collision types. Human volunteers were present in                                               ]BD !B0 Г]
many of the vehicles tested. Their responses, and the
responses of human volunteers to staged impacts in                                              (a)           (Ь)          (c)
other studies, are discussed in terms of impact                                   Figure                          1.   (a)       rear     an
severity.                                                                     For any of the four types of collisions, the usual
      For front and rear impacts, data are presented                     question put to investigators is;
that correlate the post-impact condition of bumper                       Are individuals who have experienced an apparently
systems to impact severity. These data build on data                     minor collision at risk of injury?
previously presented1,2,3. A method for computing                             The diagnosis of injuries arising out of a minor
velocity change (AV) for vehicle to vehicle collisions                   collision is usually subjective. Objective clinical
from vehicle to barrier data is presented.                               findings are often absent. The mechanism of a
    Data from staged low-speed lateral collisions                        possible injury is not always well understood, so may
correlate target and bullet vehicle damage to linear                     sometimes be dismissed as being altogether absent.
and angular velocity change (AV, Aco), impact location,                  For example, it is unclear how neck or back symptoms
pavement friction and collision force. It is shown how                   occur in low-speed rear-end collisions when there is
momentum, energy and restitution principles can be                       good head support. It may be, based on human
used to predict AV and До from damage.                                   volunteer tests (see McConnell et al4), that one
     For staged side-swipe collisions, damage details                    possible injury mechanism is a rapid compression-
are correlated to the target vehicle acceleration-time                   tension cycle applied to the neck rather than, or in
history. The vehicle motion is characterized as a                        addition to, neck hyperextension. If that is the case,
vibration dose.                                                          a neck injury mechanism can operate despite the
                                                                         head restraint. The type of detailed investigation that
INTRODUCTION                                                             lead to that finding must
    Four types of "minor" collisions frequently occur.1) guide researchers to establish reasonable levels
                                                      where symptoms can be produced,
These are rear-end, front-end, lateral, and side-swipe,
(Figure 1). Our previous work has concentrated on     2) identify injury mechanisms, and
bumper properties and their relevance to "minor"3) devise safety measures to interrupt these
rear-end impacts1"3. The term "minor" is used to      mechanisms.

describe impacts where tire forces and/or restitution      Data and methods in this paper focus on (1)
effects cannot be ignored. It is not used to referenceabove by relating levels of impact to the presence or
vehicle damage or occupant symptoms.                  absence of occupant symptoms. Vehicle motion, and
                                                639   meaningful ways to quantify it, are examined in four




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types of minor collisions. The following descriptors of                            F        =       A           +   Bx   (3)
impact severity are discussed:
                                                                             where F is the force per unit width and x is the
rear-end, front-end AV
                                                                             average crush depth. This model, while inappropriate
lateral AV or A®
                                                                             for minor impacts, is used for higher speed impacts
side-swipe a(t), or [Ja4(t)dt]° 25                                           where there is plastic deformation. The complete
     For staged collisions with human volunteers,                            energy absorption versus crush relation for a vehicle
impact severity is compared to the post-collision                            (an alternative to the force-crush model) would yield
volunteer condition. Seat, posture, preparedness and                         better results, though the economics are prohibitive.
physical condition are not included in the comparison.                       It should be noted that the AV is considered brief", on
The volunteers were not instrumented, and only                               the order of 100 to 200 ms. It is implicit that any
general details of their motion are discussed.                               differences between duration in a barrier collision and
                                                                             a vehicle-to-vehicle collision do not affect the force-
BACKGROUND
                                                                             crush model because the structures are not strain rate

    In collisions where a vehicle has permanent                              sensitive at the speeds under consideration.
damage, for example several centimeters of frontal                                An important assumption of the method is that
crush from an intersection collision, the amount of                          restitution effects and tire forces are small enough to
damage can be correlated to the collision severity.                          be neglected. However, at lower speeds restitution is
The method was first introduced by Campbell5, and                            significant, and the collision force is often not small
has been adopted by various computer programs. An                            compared to available tire traction.
investigator attempts to quantify severity in terms of                           Another measure of severity, similar to AV, is the
AV, the abrupt change in velocity of the vehicle's                           EBS (equivalent barrier speed), also referred to as the
centre of mass from collision with another vehicle. AV                       BEV (barrier equivalent velocity). Setting E2 to zero
follows directly from the crush of both vehicles. Theand m2 to infinity in Equation 1 yields the EBS. The
correlation between crush and AV is made from a                              EBS will be equal in magnitude to AV only in certain
linear force-crush model, with two empirical                                 cases. The reader is referred to articles by Hight® and
coefficients determined from crash testing, then                             Varat7 for further explanation. Specifically, in a plastic
applying that to determine energy absorption, and                            impact the AV and the EBS will be equal when the
finally AV.                                                                  vehicle stiffnesses and masses are equal.
    Mathematically, from conservation of energy and                              In attempting to estimate AV in minor rear-end,
conservation of momentum, it can be shown that for a                         front-end and lateral collisions, methods analogous to
plastic collision                                                            the foregoing have been developed, with these
                                                                             additional factors included in the analysis:
                                                                                   •restitution is accounted for

   AĶ= 1 |2(£, +E2)(mx +m2) (1)                                                    •tire forces are accounted for
       1 'y щт2                                                                    •direct energy-deformation data are used, so that
                                                                                   a force-deformation model is unnecessary
where AVļ is the velocity change of one vehicle, Eļ                                Restitution is accounted for by including the
and E2 is the energy absorbed by each vehicle       equation for restitution with the momentum and
(related to amount of damage), and niļ and m2 are the
                                                    energy equations. Tire impulse forces are accounted
vehicle masses. The energy absorbed is determinedfor with an FAt term in the momentum equation. A
from the degree of crush. In the absence of a direct
                                                  large quantity of energy-deformation data have been
correlation between energy absorption and crush, the
                                                  gathered for many vehicles in non-plastic impacts (in
energy absorbed is determined as follows (for the low-speed front or rear impacts the damage is slight
special case of uniform crush):                   or nil and the same vehicle can be tested repeatedly;
                                                                             several energy absorption-deformation data points
                    RC 2 A2                                                  can be acquired for the same vehicle). For a minor
    K=LAC                     +      -     +
                                                                             collision, it is a matter of correlating the damage with
              _ 22 В                                                         the energy absorbed, then solving the appropriate
                                                                             momentum, energy and restitution equations to
where L is the crush width and С is the uniform crush
                                                                             estimate the AV.
depth. E2 may be found similarly. The constants A                                  An alternative method is to scale the EBS of one
and В are vehicle specific, and are different for the
                                                                             vehicle by a factor relating mass and stiffness of both
front, back and sides. Central to the method is the
                                                                             vehicles,
force-crush relationship, which incorporates the A and
В coefficients.
                                                                      640




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                                                                          matter of minutes. Occupants in all front-end tests did
                                                                          not have any stimuli masked. Volunteers were asked
     AVt = EBS¡ J(m2 /(/w, + m2 ))((Är, + k2 )/k2 )                      to report any symptoms immediately after each test,
     which is only applicable for higher speed impacts.                  and in the days following the test. For vehicle-to-
That method can make use of the force-crush model
                                                                         barrier tests the vehicles were pushed frontwards or
discussed above, which implies energy absorption is                      backwards into a rigid barrier. The barrier consists of
of the form E=1/4kd2, where к is stiffness (force per                    two steel floor mounted trusses with a horizontal steel
unit crush) and d is deformation or crush. If energy                      beam. The beam can be raised or lowered to
versus deformation is quadratic in a bumper impact,                      accommodate varying bumper heights. A 10,000 lb
results identical to the direct energy method can be                     (44,500 N) load cell is fitted between the horizontal
anticipated if restitution is accounted for and tire                     beam and each vertical truss (two load cells total).
effects are ignored.                                                     Vehicles that were pushed into the barrier were fitted
                                                                         with an MEA 5th wheel mounted to the side. Biaxial
EXPERIMENTAL PROCEDURE                                                    accelerometers were also mounted to the
                                                                         transmission tunnels of some vehicles. Data were
     All the vehicles that were tested met Canadian
                                                                          recorded at 128 or 200 Hz. As in the vehicle-to-
Motor Vehicle Safety Standards (CMVSS). As such,       vehicle tests, visual and audio stimuli were removed
all vehicles had bumpers that met CMVSS 215, which     as much as possible for the collisions with volunteer
stipulates that passenger cars must be free of lamp,   occupants. However, a volunteer facing forward in a
lens and fuel tank damage and must be driveable
                                                       backward moving vehicle knows when the impact will
after 8 km/h front and rear barrier impacts and 5 km/h
                                                       occur due to his/her view of the surroundings and
corner impacts and 8 km/h pendulum impacts. The        initial separation from the barrier. Initial separation
post-impact condition of the bumpers is exempted in    from the barrier was about 1 0m or less for most tests.
the standard.
                                                                              Lateral collisions were staged on a level
     Front and rear collision data have been recorded
                                                                          concrete or asphalt surface. The angle between
for vehicle-to-vehicle and vehicle-to-barrier tests. For
                                                                         adjacent sides of the vehicles was 90°. The bullet
vehicle-to-vehicle tests the bullet vehicle was either
                                                   vehicle was equipped in each case with a 5th wheel
driven or pushed into the stationary target vehicle. In
                                                   mounted to its left or right side. In Tests 1 through 4
all tests with volunteers the bullet vehicle was pushed
                                                   there were MEA 5th wheels mounted to the target and
and its engine was off. The vehicles had MEA 5th   bullet vehicles to measure their forward velocities.
wheels attached to their sides which recorded vehicle
                                                                         The target 5th wheel had a pivoted rear mount to
position at 128 or 200 Hz. Some vehicles also had
                                                                         prevent damage from lateral post-impact movement.
strain-gage type accelerometers mounted laterally                        Two accelerometers were mounted on the
and/or longitudinally on the transmission tunnel. From
                                                                          transmission tunnel of the Toyota to me
the 5th wheel data, time-varying velocity and                             and longitudinal acceleration.
acceleration can be derived. Figure 2 shows a 5th                              In tests 18 to 21 the bullet vehicle had two 10000
wheel velocity trace for a vehicle-to-barrier collision.
                                                                         lb (44500 N) load cells mounted between its bumper
Figure 3 shows acceleration derived from the same
                                                                         beam and its bumper isolators, and an MEA 5th wheel
data shown in Figure 2. Acceleration from the 5th
                                                                         was mounted on the target vehicle rear bumper
wheel is derived from a quadratic least squares                          parallel to the bumper to measure angular speed.
moving average8. The acceleration compares                               Two uni-axial accelerometers were mounted on the
favorably with the acceleration measured directly with target vehicle, one on the transmission tunnel and one
an accelerometer mounted on the vehicle's
                                                       directly above on top of the roof. The sensitive axes
transmission tunnel and from two load cells in the
                                                       were oriented transverse to the vehicle's longitudinal
barrier at the bumper level.                           axis to record lateral acceleration. The target vehicles
     Target/bullet vehicle pairs were usually collided were weighed to determine their overall and individual
several times at increasing severity and details of    axle weights.
bumper or other damage were recorded after each             Side-swipe collisions 22 to 24 used the same
individual collision. When volunteer occupants were    bullet/target vehicle pair used in lateral tests 18 to 21.
present in the target vehicle the rear view mirrors
                                                                         The lateral collisions were done on the vehicle right
were covered or removed so that there was no visual
                                                     (passenger) side and the side-swipe tests were done
stimulus for the volunteer occupant to respondon      to.
                                                        the left (driver's) side. The same instrumentation
With the engine of the bullet vehicle off, there was
                                                     was used as in the lateral tests, except that the 5th
also no audible stimulus for the volunteer. The
                                                                         wheel on the target vehicle was swung around parallel
volunteer occupants in all rear-end tests were asked
                                                                         to the vehicle longitudinal axis and the roof. For side-
to relax, but knew that an impact would occur in a                       swipe tests SS8 to SS19, the bullet vehicle was
                                                                 641




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 equipped with a MEA 5th wheel and the target                                      In most of the front-end and rear-end collisions
vehicle had accelerometers mounted at the vehicle
                                             there was no vehicle damage. In the lateral and side-
centreline ahead of the front seats to measure
                                             swipe collisions there was body panel damage to the
longitudinal and lateral acceleration at 200 Hz.
                                             target vehicle in all but the most trivial tests. In some
     Procedures similar to those used in the rear-end                        of those tests, the same portion of the vehicle body
tests were used for target vehicle volunteers in the                         was struck more than once. Attempts were made to
side-swipe tests. For lateral tests, the procedure was                       discriminate the damage from each test, even though
similar to the front-end tests.                                              a single body panel may have had damage from
                                                                             multiple impacts.

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                          0.2                         '

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                      -0.4




                                                                      Time (sec)




    Figure 2. 5th Wheel trace, vehicle-to-barrier collision. The speed drops below zero when the vehicle rebounds backwards from the barrier.



                                          2-j



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                                                          I

                         1.5- I - - computed from load cell




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                                                              Fig

                                                                                                                6




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REAR-END AND FRONT-END COLLISIONS                                        2 km/h, a velocity change of 7 km/h (impact severity
                                                                         = 7 km/h AV). It hit the barrier at 5 km/h, which is, by
    For characterizing seventy in rear or front                          definition, its EBS.
impacts it is useful to use the concept of velocity                            For the same impact speed, different cars will
change or delta V (AV). AV is defined as the change                      rebound at different speeds (because of different
in a vehicle's speed and direction that takes place                      restitution). A different rebound speed results in a
over the brief duration of an impact. Hence impact                       different velocity change for the same EBS.
severity is often quantified as 'km/h AV".                     In many cases the amount of compression of a
     A vehicle's velocity change can be positive or       bumper component can be correlated to the vehicle's
negative. For the vehicle struck from behind, the         velocity change or EBS in a minor front or rear impact
"target" vehicle, the velocity change is positive: its    (see References 1-3). For example, many vehicles
speed an instant after the impact is greater than it      are equipped with bumper isolators. An isolator is a
was before the impact. For the striking, or "bullet",     piston and cylinder assembly that attaches the bumper
vehicle the velocity change is negative, because its      to the car. A pair of isolators, but sometimes three,
speed an instant after the impact is lower than it was    are attached at one end to the car and at the other
before the impact. The terms velocity change and          end to a metal or plastic bumper beam. The iso
speed change are often used interchangeably.              are parallel to the vehicle longitudinal axis. The
     Figure 4 shows schematically the concept of          isolator is filled with compressed gas (to act as a
velocity change in a low speed rear impact. The           spring) and oil (to absorb energy when forced through
stationary front car (the target) is hit by the rear car and orifice) or a silicone gel. Often, when an isolator
moving at 10 km/h (the bullet). After the vehicles        has been compressed there will be an observable
collide and separate, the target has a velocity of        scrape mark on the piston showing how far it
7 km/h. Since its initial velocity was zero, its velocity compressed. The amount of compression can lead to
change was 7 km/h (impact severity = 7 km/h AV).                         conclusions about the severity of the impact. Isolators
    Figure 5 shows the related concept of Equivalent                     are found on many North American cars. For a
Barrier Speed (EBS). The car (same as the target in                      complete description of isolators, see References 2
Figure 3) moves backward toward the barrier at                           and 3 and the standard SAE J1 571.
5 km/h. It hits the barrier and rebounds forward at
                                           10 km/h




              Target Vehicle Bullet Vehicle

                                      10 km/h




              7 km/h 3 km/h


                                       f


         7 km/h 3 km/h




     Target Vehicle Bullet Vehicle
   Target Vehicle Velocity Change = (7 km/h - 0 km/h) = 7 km/h
   Bullet Vehicle Velocity Change = (10 km/h - 3 km/h) = 7 km/h




              Figure 4. Velocity change.
                                                                                        Figure 5. Equivalent barrier speed.


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     SEVERITY PREDICTION (FRONT, REAR-END)                                       One equation for AV of the tar
It is desirable to be able to predict AV in a vehicle-to-                  expressed by combining the abo
vehicle impact from vehicle-to-barrier test data, as in                    FAt term in the momentum equa
higher speed collisions. Maclnnis Engineering has
staged over one thousand vehicle-to-barrier collisions,
so the properties of many specific vehicles are known.                             Ar (l + e) ļ2Ē(mt+mb)
These data can be applied to vehicle-to-vehicle                                             1 + 3. '(l~e2)m,mb
collisions either directly, or using a momentum-                                               ть
energy-restitution model.                                                       The relative approach velocity is
     The correlation between AV and isolator
compression is approximately the same for vehicle-to-
                                                     i+^
vehicle and vehicle-to-barrier collisions, provided the
mass ratio of the vehicles is not too different from
unity, and provided the bumper isolators on each
vehicle have similar stiffnesses.
                                                                                  Vra = (' + e)AV' (8)
    When the mass ratio is much different from unity,       Subscripts 't' and 'b' refer to 'target' and 'bullet'.
or when the isolators have different stiffnesses, directOther nomenclature is as follows:
application of the vehicle-to-barrier data to
determining the AV for a vehicle-to-vehicle collision m mass of vehicle
may lead to an over or underestimate. This is         V pre-impact velocity of vehicle centre of m
demonstrated by a series of impacts involving a 1982 V' post-impact velocity of vehicle centre of m
Ford Granada (bullet) and a 1976 Volkswagen Rabbit
                                                       AVt velocity change of target
(target). The bullet:target mass ratio was 1.73:1.
                                                      e coefficient of restitution in vehicle-to-vehicle impact
Vehicle-to-barrier data were gathered for the rear of
                                                      E energy absorbed by vehicles during collision
the Volkswagen and the front of the Granada.
                                                      VRA Relative approach velocity
Subsequently, the same two vehicles were involved in
four vehicle-to-vehicle collisions. Isolator
                                                      It is necessary to determine the coefficient of
compression and pre-and post impact speeds were
                                                 restitution for the vehicle-to-vehicle impact from the
recorded for each vehicle for each impact.             Figure 6 data. Howard et al9 discussed the
                                                 vehicle-to-barrier
shows 5th wheel data for a vehicle-to-vehicle impact
                                                 coefficient of restitution for aligned impacts with low
between the back of the Volkswagen and the front of
                                                 closing velocities. They present a derivation that
the Ford. The 1282 kg Ford has a smaller AV than
                                                 yields the coefficient of restitution for a vehicle-to-
the 740 kg Volkswagen.
                                                                          vehicle impact from coefficient of restitution data from
     From these data, vehicle-to-vehicle and vehicle-
                                                                          vehicle-to-barrier impacts involving the same vehicles.
to-barrier data were compared for the Volkswagen.
Figure 7 shows that direct application of the vehicle-
to-barrier data to these vehicle-to-vehicle impacts
                                                                                   „= Liti -¡w?-! m
would overestimate the Volkswagen AV.
                                                                                       К щ+ч
    The more complex momentum-energy-restitution
                                                                              where еь and et are the bullet and target vehicle
method, presented previously1, can be used to predict
                                                                          coefficients of restitution for barrier impacts.
the severity of the vehicle-to-vehicle impacts from
                                                                             The momentum-energy-restitution model was
vehicle-to-barrier data. The equations are as follows:
                                                                          compared to the actual results for the VW-Ford test
                                                                          series. For the Volkswagen and Ford, the energy
     Conservation of Momentum
                                                                          absorption and coefficient of restitution are shown in
     MtVt + MbVb = M,v;+ MbV¿ + F At (4)                                   Figures 8 and 9 as functions of average isolator
                                                                           compression in vehicle-to-barrier impacts. Energy
     Conservation of Energy.                                               absorption is equal to the change in kinetic energy of
                                                                          the vehicle. It is assumed that most of the energy is
     'му2 ĄM^ ĄM,V;2 ĄM^2 +Ķ +Eb (5)                                       absorbed by the isolators, though some is likely
                                                                           absorbed by the tires and suspension. This does not
     Coefficient of Restitution                                            affect the empirical correlation between isolator
                                                                           compression and energy absorption.
      К-П' = е(К-К) ff)
                                                                   644




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   The Volkswagen AV was predicted from the                              compression. The Ford Escort had bumper-m
momentum-energy-restitution model as follows:        load cells at each front isolator. Compared to vehicle-
   •For each vehicle-to-vehicle impact, note the     to-barrier impacts, these vehicle-to-vehicle impacts
   average isolator compression on each vehicle      had lower peak forces (Figure 11) and longer
    •From average isolator compression in a specific durations    (vehicle-to-barrier = 125 ms, vehicle-to-
    vehicle-to-vehicle impact, determine the energy  vehicle  =  175 ms) for the same amount of isolator
    absorbed and coefficient of restitution from     compression. Hence the energy absorption is greater
    vehicle-to-barrier data in Figure 8 (VW) and 9   for a certain isolator compression in the barrier impact
    (Ford)                                           than in the vehicle-to-vehicle impact. It is known that
    •Determine the coefficient of restitution for a  the isolators are strain rate sensitive, which may
    vehicle-to-vehicle impact from the coefficients  explain
                                                        of the discrepancy. This strain rate sensitivity
                                                     has not been explored for other vehicle-to-vehicle
    restitution in the vehicle-to-barrier impacts from
    Equation 9                                       impacts. The reader should note the difference
    •Determine AV for the vehicle-to-vehicle impact the vehicle constitutive properties at these
                                                     between
    from Equation 7                                  low speeds, and the strain rate independent relation
     Comparison of predicted and actual VolkswagenF=A+Bx which is applied at higher speeds. If these
AV for the vehicle-to-vehicle impacts is shown in two test series represent a trend, then using barrier
Table 1 and Figure 10.                            test data to estimate energy absorption will yield
                                                                         overestimates because of the difference in duration
     Predicting Volkswagen AV from the vehicle-to-
                                                                         and the effect of strain rate.
barrier data only (correlating AV with isolator
                                                                              If the effects of braking are accounted for by
compression) yields an overestimate if the VW data
are used. If the compression of the bullet vehicle's                     including the FAt term (impulse at wheels) then it is
                                                                         found that the AV of the struck (target) vehicle is
front isolators are used, then the target vehicle's AV is
                                                                         reduced, and that of the striking (bullet) vehicle is
underestimated. Using the momentum-energy-
                                                                         increased (see Reference 3). In circumstances where
restitution model gives better agreement for this test
series. In the vehicle-to-vehicle tests the predicted                    braking is only minor, as in the case where the target
                                                  vehicle operator is using the brakes only to hold the
and actual restitution values are biased towards the
                                                  vehicle stationary, the effect of ignoring braking is
higher Volkswagen value, except in the last vehicle-to-
                                                  negligible.
vehicle impact. In the last impact, the actual value  is      When braking is significant, as may be the
closer to the Ford vehicle-to-barrier value.      case for some vehicles in a multiple vehicle collision,
                                                           then the effect of braking should be considered. For
     Using the vehicle-to-barrier isolator compression
versus energy absorption correlation overestimated         solution of the equations, it is most efficient to re-cast
                                                           them with the left hand side of the momentum and
the energy absorption in all four of the vehicle-to-
vehicle tests. In the last test the actual restitution was restitution equations equal to zero, estimate Vb, and
lower than predicted. In that test the bullet vehicle                    solve for Vb' and Vt'. Energy absorbed will be a
                                                                         function of the V's. The initial Vb can be refined until
had an impact speed of 3.9 m/s, representing a
                                                                        the energy absorption correlates with the observed
kinetic energy of approximately 11400 Joules.
Though the average isolator compression was lower                        damage. Setting Vt to zero (or any arbitrary value)
than in the previous tests, the left VW isolator                         does not affect the resulting AV's.
bottomed out". Hence the actual change in kinetic                            The influence of mass was investigated using two
                                                                         1982 Ford Escorts. One Escort had a mass of
energy probably included some energy that was
absorbed in the vehicle structure, but not by the                       909 kg. It was in numerous front-end vehicle-to-
isolators. When the energy absorbed is larger than                      barrier tests empty, and with 225 and 450 kg added.
expected and the coefficient of restitution is lower, it                The second Escort had a mass of 995 kg. Vehicle-to-
is possible that the isolators' capabilities for energy                  barrier data for frontal impacts are presented in
absorption are exhausted and energy is being                             Figures 13 to 16.
absorbed elsewhere (i.e. isolator or its mount is                           Each series of vehicle-to-barrier impacts in
accumulating damage). In such cases, the vehicle-to-                    Figures 13 to 16 exhibits a characteristic increasing
barrier data must be used cautiously.                                   energy absorption and decreasing coefficient of
     As in the Ford / Volkswagen tests, it was found in                 restitution with increased isolator compression. At
a series of Ford Escort / Toyota Corolla tests that the                 higher isolator compressions (but below a level where
energy absorption was higher for the isolator equipped                  isolators or their mounts are damaged), the coefficient
Ford in vehicle-to-barrier tests than in vehicle-to-                     of restitution increases after decreasing. This
vehicle tests for the same amount of isolator

                                                                645




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                                                                                         5.0        "I
           3           1




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                                                - -1982 Ford Granada              E 4.0 -- a 1976 VW -Granada
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          0.5          -


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                                       Time                               (sec)                         Average                           VW        Isol

          Figure 6. VW   /
                     Figure Ford    Gr
                            7. Average i
             change  = 8.1 vehicle
                            km/h.  impac




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                      uz 0)
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              0       10     20    30       40      50      60                                 0    10         20            30     40   50   60

                       Average                      Isolator                     Compression
                                                                                     Average (mm)
                                                                                              Isolator                                              Com
                  Figure                8.          VW             rear                vehicle-to-barrier    dat
                                                                                        Figure 9. Granada front




       JO               14



      £ o WV raw barrier data 0
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                  »M.E.R. model °                                                      40000


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                  Actual                                    VW                     velocity chang
                                                                                       Average Isol

      Figure                                                10.                     Actual
                                                                                    Figure 1                                              and
                                                                                                                                          1 . E
                                                                                                                        data.




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     6000          I




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                                      Average                                                  isolator


                                 Figure                                               13.           1982

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     1000                  -




                                  !

         0




         0    10             20              30               40               50              60

                                      Average                                                  isolator


                    Figure 14. 1982 Ford Escort, 225 kg added (1134 kg).




                                                       647




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                                 Average                                                     isolator    c




                       Figure                                                  15.                1982


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       0       10          20              30             40              50                 60

                                 Average                                               isolator       co


                       Figure 16. 1982 Ford Escort, Empty (995 kg)


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                Table 1 . Volkswagen and Ford vehicle-to-barrier data for vehicle-to-vehicle tests.

  VW Ford VW Ford Pred'd. Actual VW Ford Pred'd Actual VW VW
 avg. avg. vehicle- vehicle- Energy Energy vehicle- vehicle- resťn resťn Pred'd Actual
  iso'r iso'r to- to- absorbed absorbed to- to- (Ref 9) AV AV
 comp. comp. barrier barrier (J) (J) barrier barrier (km/h) (km/h)
 (mm) (mm) energy energy resťn resťn
                    (J) (J)

   28     0    358       0    358           352           0.56           0.31            0.48              0.56    4.9   5.4

   42    1.5     1284        65      1349            879          0.49          0.31          0.43          0.48   8.2   8.1

   50    6    1980      407       2387           2153           0.47          0.28         0.41            0.42   10.6   10.4

  49    10.5      2207       743       2950           2779           0.47        0.27         0.41         0.23   11.7   11.2




appears to be related to the isolators bottoming-out,                  absorption and restitution as a function of peak force
and has been observed previously (see Reference 1).                    for a 1980 Toyota Corolla with a foam core bumper.
The restitution is lowest when the isolator is maximally               The rear bumper contacted a rigid barrier with either
compressed, but not bottomed-out. For the energy                       its whole width, or was offset so that only 50% of its
absorption curves, the constants in a quadratic curve                  width made contact. No significant difference in
fit E=Ax2+Bx (which ignores any effect of strain rate)                 energy absorption versus peak force was noted
and vehicle mass are tabulated below. The curves                       between the full contact and 50% offset tests. In both

are forced to pass through the origin, indicating no                   test types the average force, defined as mAV/At, was
energy absorption for no isolator compression.                         approximately 41% of the peak force. If it was hit by
                                                                       a vehicle for which the peak or average force was
     Table 2. Ford Escort isolator comparison.                         known then the energy absorption of the foam core
                                                                       could be estimated. For example, if the other vehicle
        Mass (kg) Coeff. A Coeff. В
                                                                       was isolator equipped, the average force F=mAV/At
        909      0.54      16.73                                       could be estimated by correlating its isolator
        1134       0.79      5.56
                                                                       compression with barrier test data. Alternatively, the
                                                                       peak force could be estimated from a dynamic test of
        1359      0.27      32.03                                      the isolator(s). However, it would be inappropriate to
        995 0.1701 31.761                                              use static isolator compression data.
                                                                            Figure 18 shows energy absorption and
                                                                       restitution data for rigid mount steel bumpers fr
                                                         pick-up trucks and vans. The physical evidence for
 For comparison, the Ford Granada had coefficients A
                                                         correlation is the permanent crush measured at six
and В of 0.78 and 74.68. The Volkswagen Rabbit
                                                         equally spaced points.
values were 1.29 and -22.49. The quadratic relation
appears to fit the data well, except for Figure 13. In
                                                             In some cases it may be possible to estimate AV
that series of tests, the isolators began to bottom out. from   Equation 8 if reliable estimates of approach
                                                         velocity are available. However, the distance a
In Figure 13 the right-most three data points were
exempted from the curve-fit.                             vehicle moved forward after an impact usually does
     There are many non-isolator equipped vehicles       not provide a reliable way to estimate closing speeds
                                                         or speed changes. The distance a vehicle rolls
for which correlations between bumper isolator
                                                         forward after being hit depends on when and how
compression and AV or energy absorption cannot be
                                                         hard the brakes were applied. Also, estimates of
made. Some vehicles with foam-core bumpers can
                                                         distance may also be unreliable. In one of the
withstand significant impacts, up to 14 km/h AV,
                                                         authors' demonstrations, spectators outside the
without damage. The reader is referred to the
                                                         vehicles viewed a vehicle-to-vehicle collision with a
authors' previous work for more details on different
                                                         4 km/h AV on both un-braked vehicles. Immediately
bumper types (Reference 2 and 3).
     Limited data on foam core and rigid mount
bumpers are available. Figure 17 shows energy

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 6000.00              -|




                        ■          Energy                                --0.90
 5000.00 -- ♦ Energy, 50% offset
                        о      Restitution                                    -      0.80
                      □       Restitution,                          50%           offset

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8 3000.00 -- ? ! i -- 0.50 I
 ■S            D         :||            nil                    :      !        i

 >       i     °      °         !         -         o          -          ?
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fi        2000.00                           -



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                                            I - L>^ -- 0.20
    1000.00                           -




                           ♦              ||i--                         0.10
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         0 10000 20000 30000 40000 50000 60000 70000

                                          Peak force (N)


                   Figure 17. Toyota Corolla rear vehicle-to-barr
                      (Average force, defined as mAV/At, was 0.4

                   О                      /lln
     40000         -1




                                                                                /F250 rear
                   л                                    /
             э Ford Club Wagon rear /
     35000              -s-




              ' О I ♦ Energy j¿F25(W " a50
               ' o Restitution / i
     30000              ->




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    С          N.                I         /               '
    3    ^    25000




     я             "H.                        /                 lio!                             с
     я          S-                 ;          Ч                 /                /               ê
    S    20000             -




    <         F25o|rear                                                  *           Î4          |
    P    Г::   *   F250               front!
    с         15000                                    -




                                           E150                rear              j     0.20

        10000           -




                     I           >j                --                  0.10
        5000            -




                              Ford                                                                   C
          0    5




          0.00 20.00 40.00 60.00 80.00 100.00 120.00 140.00 160.00

                                      Permanent crush (mm)



Figure 18. Rigid mount steel bumper vehicle-to-barrier impact

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after impact the vehicles were returned to their initial                        In the McConnell study, none of the volunteers
positions. Spectators were then asked to estimate                      had any symptoms below severities of 4 km/h AV. At
how far the target vehicle rolled forward. Their                       severities in the 6.5 to 8.1 km/h AV range some of the
responses are tabulated below. Less than one-third                     male volunteers reported neck or back symptoms
of the respondents were correct immediately after the                  lasting for less than a day.
impact.                                                                     Male and female volunteers in the Szabo study
    Displacement interval Respondents                                  experienced staged rear-end impacts, all at severities
                                                                       of 8 km/h AV. 4 of the 5 volunteers experienced
             0    to       5'        2
                                                                       transient headaches which resolved prior to exiting the
            6    to      10'         6                                 vehicle and one of the female volunteers had minor
                                                                       transient neck stiffness. No additional symptoms
           11      to     15'        7
                                                                       were reported in the one year period following the
             >15' 7 <- correct                                         tests.

                                   Total = 22
                                                                          In studies of amusement park bumper cars, no
                                                                       symptoms were reported by two male volunteers who
    Below a certain AV, a vehicle in a rear-end or                     endured rear impacts with severities up to the
front-end collision is undamaged because of the                        7.7 km/h AV level. There were no head restraints in
protection afforded by its bumper. At higher AV's, thethe bumper cars.
damage threshold is reached, where structural              In rear-end collisions staged by MEA, there have
damage starts to appear. From the data in Table 3a    been a number of male and female volunteers endure
and 3b, the damage threshold is in the range 13 to 20 collisions with severities up to 8.8 km/h AV The
km/h AV for rear-end impacts and 10 to 17 km/h AV                      volunteers have expressed no concern or discomfort
for front-end impacts. In some vehicle-to-vehicle tests                as a result of collisions with severities less than
it has been found that more damage is produced on      4.3 km/h AV. The lowest severity where a volunteer
the rear-ended target vehicle than on the bullet
                                                       has reported symptoms is at 5.8 km/h AV.
vehicle(see for example, Eubanks10). In Ford Escort
                                                            Comparing the above damage threshold data in
vehicle-to-vehicle tests those authors found no
                                                       Table 3a with the volunteer data in Table 4, it appears
damage on the front-ended Escort at approximately
                                                       that neck and or back symptoms can occur in a rear-
20 km/h AV, and quarter panel buckling on the rear-    end impact without vehicle damage.
ended Escort, which experienced nearly the same AV.         Human volunteer data for front-end impacts
     In the authors' experience, few of the passenger  found in the literature (see Table 5), and tests done at
car bumpers tested were damaged after 8 km/h           Maclnnis Engineering, suggest that front-end impacts
barrier impacts. These results may differ from results have less potential for injury to seat-belted occupants
reported by other organizations, such as Consumer      than rear-end impacts at similar severity.
Reports or the Insurance Institute for Highway Safety,      Chandler and Christian14 tested 18 male Air
if the vehicles in those tests have different bumper   Force volunteers in staged frontal collisions. The
designs. The results in this study apply to vehicles   volunteers were seated in an automotive bucket seat
that met Canadian standard CMVSS 215. It is
                                                       that was fitted with a lap and torso seat belt. The
possible that some American vehicles have different    seat was propelled at approximately 24 km/h, then
bumper designs because they must pass a different      came to a 12g stop. Nine of the test subjects
standard.
                                                       reported no indication of pain following the tests, on
                                                       had clavicular and sternal pain and eight reported
     VOLUNTEER EXPOSURES (FRONT, REAR-                 minor neck, back or chest pain or headaches.
END). Human volunteer data in rear-end collisions
                                                            Siegmund and Williamson measured the AV's
come from staged collisions conducted by Severy11, experienced by amusement park bumper cars. The
McConnell et al, Szabo et al12, Maclnnis Engineering,
                                                       bumper cars were equipped with loose fitting torso-
and from a study of amusement park bumper car
                                                       only seat belts. During the tests, a 32 year old male
collisions by Siegmund and Williamson13 (see Table
                                                       experienced severities from 6.8 to 8.1 km/h AV during
4). These data help to correlate impact severity with
                                                       7 staged frontal impacts, and a 25 year old male
injury potential. In the tests, the impact severity is
                                                       experienced severities of 7.1 to 8.1 km/h AV during 3
known with precision, and is empirically correlated
                                                       staged frontal impacts. All of the tests were
with the volunteers' subjective evaluations of the
                                                       conducted within a two hour period. Neither occupan
effect the impacts had on them.
                                                       reported any neck or back pain as a result of the
                                                       impacts.
                                                               651




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                          Table За . Rear-end damage threshold data.

                          Velocity Coeff. of Energy
  Test Vehicle change restitution absorption Damage
                           (km/h) (Joules)

 492f 1980 Chevrolet Citation 13.6 0.29 4362 Isolator flange bent; quarter
                                                                                         panel buckling

  704 1977 Honda Civic 13.2 0.55 1475 Buckle in left quarter panel

  851 1980 Toyota Tercel 13.0 0.47 2017 Right corner of bumper pushed
                                                                                        forward


  853 1980 Toyota Tercel 17.6 0.40 4435 Buckling of both quarter panels
                                                                                         and trunk floor; bumper cover
                                                                                        puckered

  388 1981 Ford Escort 16.5 0.31 5134 Buckling of both quarter panels

  Woolley15 1979 Pontiac Grand Prix 16.1 0.27 9138 3.6 cm crush
           1978 Honda Accord 17.8 0.14 9117 Buckling of both quarter panels;
                                                                                        4.3 cm crush

           1983 Ford T-bird 18.9 0.12 17515 7.4 cm crush

           1980 Chevrolet citation 19.9 0.28 9256 7.1 cm crush

           1 979 ford E-1 50 van 16.1 0.15 12865 6.1 cm crush

           1979 Ford F250 19.6 0.20 18817 4.8 cm crush; bumper rotated
                                                                                        clockwise viewed from left




                          Table 3b. Front-end damage threshold data.

                           Velocity Coeff. of Energy
    Test Vehicle change restitution absorption Damage
                            (km/h) (Joules)

  834Î 1987 Ford Tempo 8.3 0.39 1245 Left isolator stuck in
  515 1 980 Chevrolet Citation 1 0.8 0.26 2945 Broken spot welds at front of
                                                                                         frame

  360 1981 Ford Escort 10.9 0.30 2297 Mild flattening of bumper

  441 1 979 Chevrolet Malibu 1 1 .5 0.28 3370 Flattening of bumper; left end of
                                                                                         bumper rotated clockwise viewed
                                                                                         from left


  362 1981 Ford Escort 13.9 0.38 3133 Isolator flange damage

  683 1981 Dodge Aries 14.2 0.27 4679 Bumper flattened and bulging of
                                                                                        cover at ends


  329 1978 VW Rabbit 15.2 0.52 2444 Bumper bent up slightly

  627 1976 Volvo 17.4 0.38 7555 Isolator pushed back

  1 62 1 986 Chevrolet Cavalier 1 1 .7 0.30 3031 Bumper beam bent
Î Maclnnis Engineering test number




                                                     652




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                           Table 4. Human volunteers in staged rear-end collisions.

      Vehicle Subject Speed Change Symptoms Source
                                                    (km/h)

 1947        Plymouth                     Male               8.7,9.3           none              Severy

  1984             GMC                     pick-up                              45           to           56   year   old
                    males in good participating physician test subjects
1984 lyo^roravan Ford van physical condition 3 0.40 48 to have been so very mild that a
1984 lyo^roravan Ford van 3 0.40 48 single exposure would have been
                                                                    unlikely to have resulted in any
1984 Buick Regal 3.93 symptomatology."

1984 Ford van 6.45 twinge at base of neck 45 min post
                                                                    test, 2h duration

1984 Ford van 6.61 sore neck 1 day post test, 5h
                                                                    duration

 1984 GMC pick-up 7.03 none
1984 Buick Regal 7.83 sore neck 1 day post test, 5h
                                                                    duration

1986 Dodge 600 8.06 mid back and neck discomfort, 1
convertible day post test, 1 day duration
1976 VW Rabbit Males 5.3,5.8,5.9,6.4, none, except pain at back of head MEA tests
                                             6.8,7.6, 8.3, 8.6, from contact with headrest at 8.8
                                             8.8

1977 Chevrolet Male 3.7, 3.8, 4.4, 6.3, none, except for twinge in neck and
Caprice 7.0, 8.8 brief dizziness at 7.0 and moderate
                                                                    short term neck stiffness after all six
                                                                    tests

1980 Toyota Corolla Females 2.3,2.9,3.0,3.1, none
                                             3.2

1980 Toyota Corolla Males 1.7, 2.3, 2.7, 2.9, none
                                3.0, 3.0, 3.0, 3.0,
                                3.2, 3.3, 3.6, 3.6,


1984 Toyota Tercel Male 6.3, 7.9 headache after 7.9
1984 Toyota Tercel Female 3.1 , 4.4, 5.8 headache after 5.8
1986 Chevrolet Male 3.5,3.7,3.8,3.8. none
Cavalier 4.1, 4.1, 4.2, 4.3,
                                              4.3

1991 Nissan pick-up Males 2.1,2.6,3.5,4.6, none
                                             5.0

 1987VWGTI                     Male            3.3           none

Honda Accord Males 4.0, 5.5, 5.5, 5.5, none
                            6.2, 6.9

PNE bumper cars 2 Males 5.8, 6.4, 6.9, 7.0, none Siegmund and
                                              7.2,           7.6,     7.6,       7.7       Williamson

1981 and 1982 Ford 27 year old female 2 impacts "approx, transient headache immediately Szabo et al
 Escort 8" post-impact which resolved
                                                                     spontaneously and transient minor
                                                                     neck stiffness the morning after th
                                                                    test

                    48 year old male "approx, 8" transient headache immediately
                    58 year old female post-impact which resolved
                    31 year old male spontaneously
                    28 year old male "approx. 8" none




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                              Table 5. Human volunteers in staged front-end collisions.

              Vehicle Subject Velocity Change Symptoms Source
                                                           (km/h)


       1941 Plymouth Male 10.5,11.9,11.6, none SeverV
                                                   23.8


       1981 Dodge Aries Male 10.0 none MEA tests
      1982 Ford Granada Male 8.5 10.0,10.4, none
                                                    12.7


      1983 Pontiac Gran 2 Males 7.5,8.1 none
     Prix


      1990 Plymouth Male 3.6,3.8 none
      Sundance



      Daisy accelerator, Eighteen male 21.3,22.4,22.5, 9 subjects: none Chandler and
      Holloman AFB volunteers 22.6, 22.8, 22.9, 8 subjects: neck pains of ns Ian
      impact sled 23.5, 23.6, 23.6, moderate severity.
                           (20 to 32 year old 23.6,23.8,23.8,
                           male air force 23.8, 23.9, 23.9, 1 subject: moderately severe
                           personnel) 24.0, 24.0, 25.7 clavicular and sternal pam.
      Naval Air Navy personnel 16 to 20 km/h Minor neck pain Glenn
      Development Centre "ouch" level
      Horizontal Accel'r

      Wham I impact sled Male restrained by a 1 2 to 24 km/h Neck and back pains lasting for Mertz and Patrick
                         lap belt and two criss- several days with 1 .4 kg (3 lb)
                         crossing shoulder weight on head for a velocity
                          belts. change of 24 km/h.
                                                                           No injuries for a velocity change of
                                                                           23 km/h without weight on head.

      Modified WHAM II 17 U.S. Army Up to 50 km/h No reported injuries except minor Ewing and Thomas
      impact sled personnel in 236 (Maximum peak abrasions. All returned to duty
                           tests. sled acceleration immediately.
                                                           of                      9.9                           g)

       Bumper cars 2 Males 6.1,6.8,7.0,7.2, None Siegmund and
                                                      7.1, 8.1, 7.9, 8.1, Williamson
                                                    8.1



    In other testing involving Navy personnel reported                    his neck and back for a number of days. In that
by Glenn16, subjects reported minor neck pain (which                      particular impact the volunteer had a 3 lb. weight
the author referred to as the "'ouch' level") at impact                   attached to the top of his head. The volunteer went
speeds of 16 and 20 km/h with decelerations of 8.2 to                     on to experience impacts after this up to 23 km/h, but
11. 3g. Higher severity tests were conducted, but the                     without additional head weights, and experienced no
subjects had their heads tucked forward. One test                         adverse effects.
                                                                                                            18
was conducted at 48.9 km/h and was 'injury free'.                             Ewing and Thomas subjected 17 volunteers
Mertz and Patrick17 studied the flexion response of a                     from the U.S. Army to a total of 236 frontal impacts.
fiftieth percentile male volunteer. The volunteer was                     The volunteers wore a lap belt, 'inverted V' shoulder
seated and restrained with a lap belt and two criss-                      harness and chest safety strap. No injuries were
crossing shoulder belts. The seat was accelerated to                      reported at impact speeds up to 50 km/h and 9.9g
speeds of 12 to 24 km/h, then stopped at 2 to 9.6g.                       deceleration.

The volunteer experienced a total of 46 impacts. In
the 24 km/h impact the volunteer experienced pain in




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                                                                           slowed to zero in about 600 ms, an average
LATERAL COLLISIONS                                                         deceleration (without braking) of about 0.85g. The
                                                                           Toyota lateral acceleration (measured at near centre
    Lateral collisions were staged using the Ford                          of mass on transmission tunnel) peaked at about 4.8g.
Granada, Ford Escort and Toyota Corolla. The test                          There was no direct measurement of lateral AV. It
matrix is shown in Table 6.
                                                                           was estimated to be 6.8 km/h using Equations 10 to
     Table 6. Lateral collision vehicle engagements.                       13 (later in this section), with known values from the
 Test Target Bullet                                                        test for damage location, Vb, AVb and At. The total
                                                                           change in kinetic energy was approximately 2500
  1 1980 Toyota Corolla right 1980 Ford Granada front                      Joules.
        fender
                                                                               In Test 2 there was a 95 cm long contact mark on
  2 1980 Toyota Corolla right 1980 Ford Granada front                      the right front door that reached a maximum depth of
        front door
                                                                           9 cm. The right front window was rolled down prior to
  3 1980 Toyota right B-pillar 1980 Ford Granada front                     the impact, and shattered as a result of the impact.
                                                                           Even though the window was down, glass fragments
  4 1980 Toyota Corolla right 1980 Ford Granada front                      were found inside and outside the vehicle. The impact
        doors
                                                                           changed the Toyota's heading by 10° clockwise. This
 18* 1980 Toyota Corolla right 1982 Ford Escort front                      rotation was the opposite direction from the previous
       quarter panel                                                       test because the impact force was directed aft of the
 19 1980 Toyota Corolla right 1982 Ford Escort front                       Toyota centre of mass. Figure 20 shows the Ford
       quarter panel                                                       initial speed was approximately 11.5 km/h and its AV
                                                                           was approximately 7.2 km/h. The Toyota was initially
 20 1980 Toyota Corolla right 1982 Ford Escort front
       quarter panel
                                                                           moving forward at approximately 9 km/h and slowed
                                                                           to zero in about 800 ms, an average deceleration of
 21 1980 Toyota Corolla right 1982 Ford Escort front
                                                                           about 0.32g. The Toyota lateral acceleration peaked
        rear door
                                                                           at about 4g. The lateral AV was estimated to be
     * test numbers 5 to 17 used for unrelated experiments                 approximately 6.2 km/h using equations 10 to 13. The
     The vehicles' masses and front/rear mass                              total change in kinetic energy was approximately 3895
distributions were measured using a pair of 10000 lb                       Joules.

(44500 N) load cells placed first under one axle, then                           In both these tests the volunteer Toyota driver
the other. Table 7 shows the masses and their                              moved toward the right relative to the vehicle, as
distribution.                                                              expected. The driver did not hit any part of the
                                                                           vehicle interior. The lateral velocity went from zero to
     Table 7. Vehicle masses for lateral tests.                            its peak and back to zero quickly. This differs from a
                                                                           rear-end or front-end impact where the velocity goes
                Vehicle Mass (kg) Disťn F/R
                                                                           from it initial value to its peak, but not back to its
     1980 Toyota Corolla 977 56/44                                         initial value. In the lateral impacts, the occupant is not
                                                                           forced to "catch-up" with the car, as he would have to
     1980 Ford Granada 1282 56/44
                                                                           in the rear-end or front-end types of impacts. There
       1982 Ford Escort 995 64/36                                          were no severe neck loads because the volunteer's

                                                                           upper body pivoted toward the right about the
                                                                           resulting in little displacement of the head rela
     In Tests 1 and 2, both vehicles were in motion                       the torso.
and aligned at 90°. The front bumper of the Ford                               In Tests 3 and 4 the target Toyota was stationary
Granada hit the right front wheel of the Toyota in the                     and the impact was concentrated over the right doors
first test, and the right front door in the second test.                   and B-pillar. Some of the damage was superimposed
     In Test 1 the right front wheel of the Toyota was                     over damage from test 2. In Test 3 (Figure 21) there
bent inward at the top. Starting at the front bumper,                      was very slight crush to the B-pillar and a small lateral
there was a 109 cm long contact mark on the Toyota                         displacement. The Ford frontal AV was 3.5 km/h. The
from the Ford that reached a maximum depth of 11                           Toyota lateral acceleration had several peaks of less
cm and tapered to zero at the ends. The impact                             than 1g with pulse widths less than 20 ms. In the
changed the Toyota's heading by 25°                                        more severe Test 4 (Figure 22) there was
counterclockwise. Figure 19 shows the Ford initial                         approximately 40 mm of crush to the B-pillar, th
speed was approximately 12 km/h and its AV was                             and rear axles moved sideways 280 and 500 mm, and
approximately 7.5 km/h. The Toyota, which was                              there was bumper contact across both right side
initially moving forward approximately 18 km/h,                            doors. The Ford frontal AV was 5.4 km/h. The

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              Figure 1 9. Speed and acceleration for test 1 . Damage to right fender.




Figure 20. Speed and acceleration for test 2. New damage to right front door. Old damage to right fender from test 1.

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Figure 21. Speed and acceleration for test 3. Additional damage to lower right front door. Same area was damaged in test 2.




                Figure 22. Speed and acceleration for test 4. Damage right rear door and B-pillar.




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Toyota lateral acceleration had a 1g peak with a                            In Test 19 the engagement was identical to Test
40 ms pulse width above a background of other sub-                     18, but the closing speed was higher. The dent was
1g peaks of lesser pulse duration.                                     at the same location on the target Toyota, only it was
     In Tests 18 to 21. The vehicles were aligned at                   200 mm in diameter and 18 mm deep at the centre
90°, with the left front corner of the Ford aligned with               and centred 301 cm from the front axle. There was

the right rear corner of the Toyota (Figure 23).                       also a small scrape on the rear of the right rear w
                                                                       arch of the Toyota from the bumper of the Ford.
                                                                       Neither of the Ford isolators compressed. The rear
                                                                       bumper of the target vehicle displaced sideways
                                                                       19 cm relative to the ground. Figure 25 shows that
                                                                       the closing speed of the bullet Ford was
                                                                       approximately 1.4 m/s. After the first 100 ms the
                                                                       force between the vehicles dropped to zero. Unlike
                                                                       the previous test, the target vehicle slid sideways, so
                                                                       the bullet rolled ahead until it contacted it a second

                                                                        time and decelerated with it, but with very little fo
                                                                        between the vehicles. Eventually the bullet vehic
                                                                        disengaged and rolled away backwards. The AV's at
                                                                       the Ford and Toyota centres of mass were
                                                                       approximately 0.8 and 0.5 m/s and the change in
    Figure 23. Vehicle engagement in tests 18 to 21.                   kinetic energy pre- and post-impact was
                                                                       approximately 438 Joules. 321 Joules were
     In Test 18 the top of the left bumperette of the                  accounted for by the sliding tires, and the remainin
bullet Ford Escort hit the target Toyota Corolla right                 116 Joules were associated with the damage to the
quarter panel aft of the rear wheel. There was no                      Toyota. The roof-top acceleration had a 2.3g peak
damage or isolator compression on the Ford, and a                      with a 12 ms pulse width above a background of lower
dimple in the quarter panel of the Toyota that was                     peaks that lasted a total of 100 ms.
50 mm in diameter and a maximum of 5 mm deep.
                                                                           In Test 20 the alignment was similar to the two
Vertical scuffs on the 50 mm height of the damage                       previous tests, but the closing speed was high enough
indicated the Toyota had displaced vertically by                       to cause 2 and 13 mm compression on the left and
approximately 50 mm at the contact point. In these                     right Ford isolators. The target Toyota rear bumper
tests, generally the bullet front bumper pitched                       moved 45 cm sideways relative to the ground. The
downward slightly and the struck side of the target                    front axle did not move sideways. The portion of the
rolled upward. The wheels of the Toyota did not slide                   right quarter panel that was hit in the previous test
sideways as a result of the impact.                                     was hit again in this test, causing the dent to increase
     Figure 24 shows that the bullet Ford was moving                    in size. The dent was centred 290 cm from the front
at 1 .44 km/h at impact. It decelerated as the rear of  axle (11 cm closer). There was some new damage
the target Toyota accelerated sideways. The target      ahead of the target Toyota right rear wheel arch that
rear end reached its peak lateral velocity of 0.5 m/s   was 6 cm in height, 4 cm in length and approximately
about 100 ms after impact and became stationary         1 cm in depth. Figure 26 shows that the dynamics
125 ms after initial contact. The load cell data show
                                                        were similar to the previous test. The impact lasted
the force between the vehicles reached zero about
                                                        approximately 100 ms, then the force between the
100 ms post-impact. After the 100 ms, the Fordvehicles    AV dropped to near zero and then the vehicles
was approximately 0.2 m/s. Because the target           decelerated in unison. The peak force at the bumper
wheels were sideways on the road surface and the        of the bullet was approximately 25 kN for an average
bullet vehicle was free to roll, the bullet vehicle     isolator compression of 7.5 mm (front-end vehicle-to-
pressed on the target vehicle a second time as the barrier impact: peak force=24 kN, isolator
target vehicle velocity dropped below that of the bulletcompression=7.5 mm). The change in kinetic energy
vehicle. About 300 ms after the initial contact the
                                                        pre- and post-impact was approximately 1092 Joules.
bullet vehicle rebounded backward off the target        569 Joules were associated with isolator compression
vehicle. The lateral acceleration of the target vehicle and work done by the sliding tires, and 523 were
top and bottom was in phase, and had a 0.7g peak        associated with the Toyota damage. The top
with a 10 ms pulse width at the roof. The total change  accelerometer measured a 3.5g peak with pulse
in kinetic energy during the impact was approximately   duration of 10 ms above a background of lower
33 Joules.
                                                                        peaks.

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03

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                                                                                                 Small dimple in quarter panel from Ford
                                             Time (sec)
                                                                                                 bumperette.
Figure 24. Speed and force data, test 18. Damage shown at right




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      2




      1




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    -2


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      -4       J




      -0.5         -0.3    -0.1   0.1    0.3     0.5   0.7   0.9   1.1   1.3   1.5
                                                                                                 Dent in quarter panel, 200 mm diameter, 18
                                             Time                 (sec)
                                                                                                 mm maximum depth.
Figure                      25.              Speed                and      force               data,            test       19.   Damage         show




      3        -j




      2




      5                j          Speed;                                             ^
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со ļļ - - Forward speed of Ford £
                           U

  "2 '' ; 1 -Left Load Cell Г 4
                                                                                                 Dent in quarter panel 1 1 cm farther forward
                               V'(ļ " I Force i !                                                than test 19, plus small dent in wheel arch
      -4           -I




       0       0.2     0.4     0.6       0.8     1   1.2     1.4   1.6   1.8    2                leading edge.
                                             Time                  (sec)

Figure                               26.             Speed                and              force                 data       for     test        20.




                                                                                     659




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          -0.2         0      0.2          0.4         0.6          0.8         1      1.2          1.4    1.6   1.8

                                                                Time                       (sec)
                                      Figure                 27        (a).       Speed                  and   force   data   fo




Figure 27 (b). Acceleration at transmission                                                                       tunnel      an
test 21 . Damage shown at right.




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     In Test 21 the alignment was similar to the three
                                                                          Mb mass of bullet car
previous tests, but the bullet Ford was slightly more
forward. The impact speed was 8.6 km/h. On the                            Mt mass of target car
Toyota there was a 16 cm long dent in the rear door
                                                                         At collision duration
approximately 20 mm deep. There was a black scuff
in the dent that went forward and downward. It was                       It yaw movement of inertia of target vehicle
caused by the motion of the Toyota relative to the
                                                                        oo *t post-impact rotational speed of target vehicle
Ford, which was upward and backward. The dent in
the Toyota right rear wheel arch had doubled in depth                   Et Energy absorbed by target
to 2 cm. There was 7 and 20 mm compression on the                       Eb Energy absorbed by bullet
left and right Ford isolators. The target Toyota rear                   Ew Energy = work done by sideways sliding target
bumper moved 79 cm sideways relative to the ground
                                                                                   tires during impact iF
and the front axle did not move. Figure 27 (a) shows                                        NON-STATIONARY STATIONARY , - TV %.i
                                                                                                AXLE      AXLE   /   /   Jr-3

that the dynamics are again similar to the previous                                           FT ТТЛ I / 4 à ХТЛ
tests. The change in kinetic energy pre- and post-                                                        т ) > à vT * /
impact was approximately 1638 Joules. The energy
absorption associated with the 13.5 mm average
compression is 460 Joules. 733 Joules were
associated with the Toyota damage. The top
                                                                                            Ш4P              ]           [
accelerometer measured a 4g peak with a 110 ms
pulse width (Figure 27 (b)).                                                                ] [

                                                                                Figure 28. Nomenclature for lateral collisi
     SEVERITY PREDICTION (LATERAL). Like the
                                                                The actual results for impacts 18, 19, 20 and 21
momentum-energy-restitution model for rear-end or
                                                          were compared to results predicted by the model.
front-end impacts, similar principles can be applied to
                                                          Input to the model included approach speed of the
derive a similar model for lateral impacts. In this
                                                          Ford, effective location of force application
model, conservation of angular momentum must be
                                                          (determined from the Ford bumper-mounted load
introduced and the impulse term FAt must be included
                                                          cells), impact duration, coefficient of restitution, road
in the momentum equations (except in very slippery
                                                          surface friction coefficient for sliding tires, vehicle
road conditions). The model applies to lateral impacts
                                                          masses, target Toyota yaw moment of inertia19, target
where the front or rear axle of the target acts as a
                                                          vehicle wheelbase and target vehicle centre of mass
pivot, i.e. there is no lateral displacement of one axle.
                                                          to front axle distance. Output from the model
The engagement and nomenclature are shown in
                                                          included target and bullet AV, target vehicle Aco, and
Figure 28. The momentum, energy and restitution
                                                          energy absorbed during impact. The results (shown in
equations are as follows:
                                                          Table 9 as Aco and energy absorbed) compared
Conservation of Linear Momentum.
                                                          favorably, indicating the validity of the equations.
                                                          However, some of the inputs, notably restitution and
                                                          duration, were not available until after inspection of
 Mbvb = Mtv;+Mbv^+Ftàt                                    the test data. It appears that durations of
                                                 (10)     approximately 100 ms and restitution values in th
                                                          to 0.6 range, typical for bumpers, are also appropr
Conservation of Angular Momentum                          for these impacts.
                                                                For a real impact, where the only physical
MbVbr, = MbV'r2 + Myļrx + It<ot + FtAtr2 (1 1 )           evidence is vehicle damage, the investigator must
                                                          record the location of damage, relate the amount of
Conservation of Energy                                    damage to energy absorption, then solve the above
                                                          equations by selecting the bullet vehicle pre-impact
                                                          velocity until the energy absorption value is reached.
                                                               Energy absorption values can be determined for
'мьУ2 ĄM,V;2 Ąim2 Ąm2 +Ķ +Eb +Ew d 2)
                                                          the bullet vehicle if it is isolator equipped, from barrier
                                                          test data. Energy absorption values can be
Coefficient of Restitution
                                                          determined for the target vehicle from the damag
                                                          its side, but data are scarce. For the tests presented
  Vb=e(co'tr,-V¿) (13)                                    here, the energy absorption of the side of the target
                                                          was determined by subtracting from the measured
                                                          change in kinetic energy as shown in Table 10.
                                                               661




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                        Table 9. Comparison of actual and predicted results for tests 1 8 to 21 .

 Test At rest n A^actuai A® predicted Eactuai EpreC|¡cted
      (ms) (r/s) (r/s) (Joules) (Joules)
    18          90          0.48                     0.15                     0.06                        75   33

    19         100              0.37               0.45                   0.42                  533            437

    20        80        0.35                0.69                  0.69                  1107               1092

    21        90        0.20                0.73                  0.73                  1651               1638



                                                                       peak (as a result of collision) then back to steady
         Table 10. Energy absorbed by target.                          state (as a result of tire friction in the sliding direction)
                                                                       rapidly. The motion of the vehicle was lateral, there
   Test ДКЕ Isolator energy Energy
                                                                       was no significant rotational displacement. The
           (Joules) absorption absorbed
                                                                       highest AV was 6.8 km/h. Peak accelerations were up
                              + by target
                                                                       to 4.8g and the impact durations were approximately
                       work done by (Joules)                           100 ms. The volunteers were seated in the driver's
                       sliding tires
                                                                       seat and the impact came from the driver's right s
                          (Joules)
                                                                       The volunteers did not strike anything in the vehi
      18         33             0      33                              interior. No symptoms were reported by the male
                                                                       volunteers.
     19      437         321           116
                                                                              In a study by Zabrowski21, 37 male Air Force
    20      1092          569           523                            volunteers were subjected to a total of 70 lateral
                                                                       impacts. Volunteers were lap belted into a seat that
    21      1638          905           733
                                                                       was propelled left side leading at a speed of 15 to
                                                                        17 km/h, then stopped suddenly. The seat had a side
      For            comparison, plate              door angled outward  from the left side at 30°
                                                                     impacts                        from
                                                                                                 from
collisions on a 1981 Chevrolet Malibu are shown in vertical to prevent excessive flexion. From the impact
Figures 29 and 30. Constitutive relations for door speed the seat was stopped with a special brake at
panel damage found in Reference 20 predict the     4g, 6g, 8g or 10g peak acceleration levels. This was
energy absorptions indicated.                                          accomplished by varying the stopping distance (and
                                                                       time). Impacts at the 4g level had durations of over
    VOLUNTEER EXPOSURES (LATERAL). Staged                              300 ms, too long to be comparable to a lateral vehicle
collisions where volunteers have participated in the                   impact. At the 6, 8 and 10g levels the impact
vehicle struck laterally are listed below (Table 11).                  durations were 139, 103 and 100 ms for the sled in
     In the MEA vehicle-to-vehicle tests, the lateral                  the lateral direction for the acceleration-time traces
velocity of the target vehicle went from steady state to given for representative impacts. These durations a




Figure 29. Chevrolet Malibu lateral impact. Energy   Figure 30. Chevrolet Malibu lateral impact. Energy
absorption by door was approximately 400 Joules. Dentabsorption by door was approximately 900 Joules
is 64 mm deep.                                       (forward door). Dent is 102 mm deep.

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comparable to vehicle lateral impacts, and the 15 to                    feel symptoms some hours later. Two subjects were
17 km/h sled velocity can be likened to a 15 to                         very relaxed on impact. Both hit their heads on the
17 km/h AV in a lateral impact.                                         side plate. One was unconscious for two minutes and
    No permanent physiological changes were noted the other had a head ache for 5 minutes. The
in any of the volunteers. Half of the subjects had subjects who were not as relaxed in many
minor symptoms in testing above the 6g level. The  able to avoid striking their heads on the s
symptoms resolved within days and were mostly headThere were no head strikes at the 4g level. Head to
aches, neck, shoulder or hip pain. At the higher  side plate strikes were recorded for 20% of the
acceleration levels some brief disorientation was volunteers at the 6g level, 40% at the 8g level, and
noted by some subjects immediately post-test.     50%Many
                                                       at the 10g level.
subjects felt no effects immediately post-test, but did
                              Table 11. Human volunteers in staged lateral collisions.

       Vehicle Subject Velocity Peak lateral Symptoms Source
                                       Change vehicle
                                       (km/h) acceleration


 1980 Toyota Corolla 32 yr male 6.2,6.8 4,3.5 none tests 1,2
 1980 Toyota Corolla 26 yr male 0.7,2.4, 0.4,1.5,3.6 none tests 18, 19,


   "Bopper" sled 24 yr male 17.2 5.79 pain in lower spine, < 1h Zaborowski
                      22 yr male 16.5 7.06 blow to head/shoulder; stiff R. neck 3 days,
                                                                                          sore hips 2 days
                      28 yr male 16.6 6.38 sore R neck, 1 day delay to onset, 24h
                                                                                              duration

                      31 yr male 16.0 6.64 sore neck, 1 day delay to onset, 24h duration
                      22 yr male 16.2 6.4 pain R hip, gone after exit from sled
                       31     yr        male             16.6          5.77           none
                      24 yr male 16.8 6.43 burning sensation from seat belt
                      22 yr male 16.9 7.85 pain in hip bone "quickly subsided"
                      23 yr male 17.4 8.83 hit head, unconscious 2 min.
                      26 yr male 15.8 7.52 head hit shoulder; head ache 2h
                      37 yr male 17.7 8.48 stunned momentarily; stiff R neck
                      28 yr male 17.4 - sore R neck, 8h delay to onset, <24h duration
                      29 yr male 16.5 7.55 very mild hip pain
                      23 yr male 17.4 8.16 burning sensation in hips; head barely
                                                                                         touched restraint

                      24 yr male 16.8 8.09 mild belt bruising; sore R neck and R
                                                                                   shoulder, 24h delay to onset
                      42 yr male 16.9 8.28 numb L arm; tired feeling
                      22 yr male 17.5 8.43 sore R neck, 3h delay to onset, 48h duration
                      24 yr male 15.8 8.9 mild momentary pain across under chin and
                                                                                            across neck

                      21 yr male 16.6 9.95 R neck and R shoulder stiff for 3 days
                      26 yr male 15.8 9.32 dull ache in back of head, <1 h duration
                      24 yr male 16.2 8.48 blurred vision for 10 sec, tired feeling
                      22 yr male 16.7 9.24 disoriented; head ache 6h duration; pain in
                                                                              neck and L trapezious 3 day duration
                      20 yr male 16.6 9.44 head ache 30 min duration; stiff neck 2h
                                                            delay to onset, 12h duration
                      26 yr male 15.7 8.83 head ache 1 h; sore R neck 3 days
                      31 yr male 17.4 8.83 stiff R neck and R trapezious, 18 hour delay
                                                                                              to onset

                      25 yr male 15.0 9.14 head ache, 30 min delay to onset, 1 5 min
                                                                                              duration



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SIDE-SWIPE COLLISIONS                                                   because the target vehicle surface being struck has a
                                                                        tendency to rotate upward as a result of the lateral
     Tests have been conducted to simulate side-                        force applied to its side. The fine details of the
swipe vehicle accidents. Side-swipes are generally                      material deposited on the side of the Toyota at this
impacts where the angle between the vehicles is                         mark were obliterated because the cars were stuck
shallow and a common velocity is not reached.          together after impact; when they were pulled apart
Vehicle orientations and impact speeds were varied to surfaces scraped past each other for a second time.
investigate their influence on damage and impact       There was a slight dent in the Corolla door skin at the
severity. Test conditions are summarized in Table 12.  leading edge of the door. There was also a minor
     For all of the tests, a stationary target vehicle amount of material transferred to the Toyota driver's
was placed in the path of a moving bullet vehicle. The door from the Ford right front wheel arch. The Escort
target vehicle was positioned so that its longitudinal came to rest in contact with the Corolla. At rest, the
axis was at a small angle to the path of the bullet    Corolla had moved ahead 45 cm from its pre-impact
vehicle, and so that a corner of the bullet vehicle's  location. The Escort's rest position was 128 cm
front bumper would contact the side of the target                       ahead of its position at initial contact with the Corolla.
vehicle.                                                                The left load cell recorded almost no load, as
     The bullet vehicle was fitted with a 5th wheel.
                                                expected. The right load cell peaked at approxima
The target vehicle was fitted with either a 5th wheel
                                                700 N. The 977 kg Toyota experienced an average
(oriented longitudinally) and two accelerometers (both  forward acceleration of less than 0.1 g for the first
oriented laterally), or two accelerometers (one         1000 ms of contact, then decelerated at
oriented longitudinally, the other laterally). In three approximately the same rate to rest. A total
tests there were two bumper mounted load cells in the   change" of 1.5 km/h occurred during the 1000 ms
bullet vehicle.                                                         contact interval.
                                                                            For test 23, the Corolla was oriented at an angle
      FORD ESCORT AND TOYOTA COROLLA                                    of 16° to the path of the Escort and positioned so that
TESTS. Three side swipe impacts (Tests 22, 23 and                       the right corner of the Escort's front bumper would
24) were staged by pushing a Ford Escort into a                         contact its left front door. Velocity, force and damage
Toyota Corolla. These tests followed lateral tests 18                   are shown in Figure 33. The impact produced a black
to 21, and used the same instrumentation. The         scrape mark running from the back of the Corolla's
vehicles were oriented so that the right corner of theleft front door to a point 45 cm behind the leading
Ford front bumper would contact the left side of the  edge of the door. The scrape mark was associated
Toyota when pushed straight ahead as illustrated in   with a dent in the door skin that had a maximum depth
Figure 31 . The transmission of the target vehicle wasof 40 mm. Again, the scrape mark ended lower than
placed in neutral and no brakes were applied.     it began, by about 4 cm. During the impact, both
                                                  vehicles came to rest and then moved backwards.
    The bullet vehicle was equipped with a 5th wheel
and bumper mounted load cells. The target vehicle The Corolla came to rest behind its original position.
had one accelerometer mounted to the floor pan at                       The vehicles were not in contact when they came to
the centre line, just behind the front seats, and                       rest. The left and right load cells both recorded
another on the roof directly above the first. Both                      compressive loads for the initial phase of the impact.
accelerometers were oriented to measure lateral       After the vehicles were engaged, the right load cell
accelerations, i.e. perpendicular to the longitudinal recorded a tensile load which correspond to a slowing
axis of the vehicle. An MEA 5th wheel was fitted to   of the target vehicle. The right load cell peaked at
the rear bumper of the target vehicle, parallel toapproximately
                                                        the            1600 N.
longitudinal axis.                                         For test 24, the Corolla was oriented at an angle
     For test 22, the Corolla was oriented at 10° to the
                                                      of 16° to the path of the Escort and positioned so that
path of the Escort and positioned so that the right   the right corner of the Escort's front bumper would
corner of the Escort front bumper would contact its   contact its left front door. Velocity, force and damage
left front door. Velocity, force and damage are shown are shown in Figure 34. The impact produced a black
in Figure 32. As a result of the impact, there was a                    scrape mark on the middle of the Corolla's left front
black mark running from a point 42 cm behind the                        door and fender. Denting of the door skin was not
leading edge of the left front door forward to the left                 significantly increased over that due to previous
front wheel. The mark was slightly higher at the                        impacts. The right corner of the Escort bumper
beginning of contact than at the end of contact. As in                  became lodged behind the left front wheel of the
the lateral tests, the mark has a downward orientation                  Corolla, and the two vehicles came to rest in contact.




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                                                Table 12. Side-swipe tests.

              Test Target Bullet Angle Approach speed
                                                                                                        (km/h)

             SS8 Honda Civic left side Dodge Aries right front shallow 23.8

             5510 Honda Civic left side Dodge Aries right front shallow 25.9

             551 1 Honda Civic left side Dodge Aries right front shallow 27.0

             5512 Honda Civic left side Dodge Aries right front shallow 8.6

             5513 Honda Civic left side Dodge Aries right front shallow 8.3

             5517 Honda Civic right side Dodge Aries left front shallow 19.1

             5518 Honda Civic right side Dodge Aries left front shallow 19.8

             5519 Honda Civic right side Dodge Aries left front =30° 20.2

              22 Toyota Corolla left side Ford Escort right front 10° 4.5
              23 Toyota Corolla left side Ford Escort right front 16° 5.0
              24 Toyota Corolla left side Ford Escort right front 16° 9.4




                               Figure 31 . Vehicle engagement for side-swipe tests.

    DODGE ARIES AND HONDA CIVIC TESTS.                                  and SS19 the transmission of the Honda was in

Eight side swipe impacts were staged by propelling a                   second gear and no braking was applied.
Dodge Aries into a Honda Civic. The vehicles were                             For all tests the disturbance of the Honda was

oriented so that a front corner of the Dodge would                     observed to last approximately 1 .5 to 2 seconds and
contact the right or left side of the Honda. The Dodge                 the acceleration data were judged to be periodic. The
approached the Honda from the rear in all tests. The                   acceleration data, acquired at 200 Hz, were filtered to
transmission of the target vehicle was placed in                       include only the part of the spectrum below 80 Hz.
neutral and no brakes were applied for tests SS8,                      The test results are summarized in Table 13.

SS10, SS11, SS12 and SS13. In tests SS17, SS18



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 Figure                                           33.                         Speed      an




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                                 Table 13. Summary of Dodge / Honda side-swipe tests.
 Test               Fig               Damage                                    a)ong                       a)at   At
                                                                        peak pulse peak pulse (ms)
                                                                         (g) width (g) width
SS8 35 The Dodge snagged the left front corner of the Honda, pulling the 4.0 30 0.5 150 900
           front bumper from the left isolator, and causing some left fender ms ms
           damage in front of the wheel well. Lateral movement was damped
           to zero in under one second. A black mark was left along the right
           door and quarter panel of the Honda. The Dodge did not slow
          considerably during the impact. The left front wheel of the Honda
          moved to the right 5 cm and the vehicle moved ahead 3 cm as a
           result of the collision.

5510 36 The right front corner of the Dodge caught the left front wheel well 2.0 150 1.0 150 1000
           of the Honda, causing fender damage on both sides of the wheel
           arch. The Dodge was not brought to rest by the impact.
5511 37 Initial contact occurred with the right corner of the Dodge front 5.0 30 1.8 150 750
           bumper snagging the trailing edge of the Honda left fender. The
           rear attachments of the fender were broken and the fender was

           dented above the wheel arch. The Dodge was not brought to rest
           by the impact. The initial snag caused a brief 5g longitudinal
           acceleration on the Honda. This was followed shortly by
           secondary contact that caused a 1.8g longitudinal and lateral
           acceleration of greater duration.
5512 38 Right corner of the Dodge struck the left door of the Honda just in 1.0 300 0.8 100 1000
           front of the B-pillar. Damage to the Honda consisted of horizontal
           scrape marks down the length of the left door. The Dodge came to
           rest in contact with the Honda as a result of the impact.
5513 39 Initial contact behind the B-pillar and more pronounced denting of 1.4 30 0.5 150 1400
           the door skin as well as a dent in the left quarter panel. The
           Dodge came to rest as a result of the impact, in contact with the
           Honda. The damage was similar to the previous test.
5517 40 Initial contact occurred with the left corner of the Dodge front 3.0 40 3.0 40 1300
           bumper striking the right door of the Honda, about 30 cm behind
           the front of the door. As the front bumper of the Dodge moved
           forward it caught the rear edge of the right fender. The damage
           was similar to test SS11. The Dodge was not brought to rest by
           the impact.
5518 41 The left corner of the Dodge front bumper struck the right door of 3.0 50 2.0 30 1400
           the Honda behind the mid-length of the door, similar to tests SS12
           and SS13. The door skin was dented, and the fender damage
           caused by test SS17 was added to. The Dodge was not brought to
           rest by the impact. A mark on the door ended lower than it began,
           owing to body roll, as in other side swipe tests. In contrast to
           tests SS12 and SS13, the longitudinal acceleration did not surpass
           1g until the lateral acceleration did. The 3g peak likely occurred at
           the door leading edge where the door skin was deformed around
           the stiff frame of the door leading edge.
5519 42 The Honda was oriented at a larger angle to the longitudinal axis 2.5 40 2.5 120 1400
           of the Dodge. Initial contact occurred between the left corner of
           the Dodge front bumper and the back of the Honda right door.
           Denting of the door skin was increased due to bumper contact as
           well as from contact with the Dodge fender, resulting in a scrape
           and dent above the trim line on the Honda door. The Dodge was
           brought to rest by the collision and the two vehicles remained in
           contact. There were lateral accelerations of larger duration and
           amplitude than the other tests due to the increased angle.

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Figure 35. Acceleration for test SS8. Damage at right.




Figure 36. Acceleration for test SS10. Damage at right.




Figure 37. Acceleration for test SS1 1 . Damage at right.




Figure 38. Acceleration for test SS12. Damage at right.




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    Figure 39. Acceleration for test SS13. Damage at right.




   Figure 40. Acceleration for test SS17. Damage at right*.




   Figure 41. Acceleration for test SS18. Damage at right*.




   Figure 42. Acceleration for test SS19. Damage at right*.
* Damage is to right side. Image mirrored for comaprison to previous figures.

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    SIDE SWIPE TEST ACCELERATIONS. In the                               consideration of the health effects of the vibration

eleven side swipe tests the motion imparted to the     may be appropriate. Use of the VDV is advantageous
target vehicle consisted of a longitudinal and lateral for side-swipe collisions because it considers the
disturbance that lasted on the order of one second.    effects of both peaks and background accelerations,
Longitudinal accelerations were characterized byasshort   well as the duration of the disturbance. To attempt
duration (less than 50 ms) impulses that were          characterization of any impact, including a side-swipe
associated with snagging or other mechanical blocks    impact, using only peak or average acceleration would
to the forward progress of the bullet vehicle. These   ignore important information about the disturbance.
peaks rose above a background of sub-1g longitudinal       The vibration dose value is defined as follows:

oscillations. Lateral accelerations were predominantly
                                                                     ~t=T ~|1/4
less than 1 g, except for short duration peaks that
                                                            VDV = J a4 (t)dt
occurred when there was snagging and in the last test               _t=0
where the angle between vehicles was not shallow,
                                                       Griffin notes that the accelerations a(t) above 80 Hz
and corresponded to the vehicle rolling on its         needn't be considered for motor vehicles. In the
suspension. These lateral accelerations were damped
                                                       present work, accelerations above 80 Hz in the side-
to zero in about one second.
                                                       swipe tests were removed with spectral analysis. This
     Where there was no snagging, much of the
                                                       had the effect of slightly lowering some of the short
disturbance was within what the car could experience
                                                       duration peaks. Griffin also recommends computing
during driving. Figure 43 shows the acceleration data VDV's for each axis, in this case lateral and
from test 12, where there was a shallow door crease
                                                       longitudinal. An overall VDV is defined as:
and no snagging, superimposed on the traction
envelope22 for 0.8g (corresponding to dry pavement
and an average forward acceleration capability of                              VDV VLJV = 4 1 VDV 4 ^ +VDV y ^ v 4
                                                                               VLJV overall = V lateral ^ y ^ v longitudinal
0.3g).
                                                                            As a preliminary check of the applicability o
                                                                        vibration dose concept, the VDV was computed for
                                                                        several rear-end barrier impacts for which the AV (the
                                                                        descriptor used for front and rear impacts) and
                                                                        acceleration history were known. The results (Figure
                                                                        44) show that the VDV of 15 ms'1 75 occurs near the
                                                                        8 km/h AV. Recall that the 8 km/h AV level is near the

                                                                        onset of symptoms for volunteers in rear-end
                                                                        collisions. The slope of the VDV - AV curve increases
                                                                        as AV increases, so that a unit increase in AV at the
                                                                        8 km/h level corresponds to a larger increase in VDV
                                                                        than at the 4 km/h AV level. These preliminary results
                                                                        are encouraging. It is noted that the VDV value is
   Figure 43. Accelerations in test 12 compared to
                                                                        independent of direction. It appears that a VDV of 15
             driving maneuver envelope.
                                                                        is near the tolerance level for rear impacts, but would
                                                                        be below the tolerance level for frontal impacts.
     In order to quantify the severity of the impact for
the target vehicle, the concept of vibration dose was
used. The concept has been used to help quantify
vehicle ride, seat comfort and motion sickness. It
uses the acceleration-time history of a vehicle motion
to compute the Vibration Dose Value (VDV) for that
motion. It is applicable to vibratory motions which
may be steady-state, random or transient. According
to Griffin23, the VDV can be used to characterize the
motion when there are occasional peaks above the
background (termed high crest factor vibrations,
where crest factor is the ratio of peak to RMS                            Figure 44. Comparison of VDV and AV for rear-end
acceleration). It has been suggested that a vibration                                        impacts.
dose value of 15 ms'1 75 is a level above which some

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    The VDV values were computed for side-swipe                          applying raw vehicle-to-barrier deformation data (if
tests SS8 through SS19 and 24 and tabulated in                           vehicles in a two vehicle collision have similar mass
Table 14. In all cases the duration was taken as 1.5                     and stiffness), or from application of a momentum-
seconds. The only test where the VDV was greater                         energy-restitution model, or from duplicating the
than 15 was test SS11, where the fender was                              collision.

snagged. If the VDV is a valid descriptor to relate           For lateral impacts, front or rear vehicle-to-barrier
vehicle motion and occupant response, then test SS1 1   test data can be used to estimate the energy
would be roughly equivalent (i.e. have the same         absorbed and force applied to the bullet car. Some
vibration dose and same direction of acceleration) to   data exist to estimate the energy absorbed by the
a rear-end impact with an 8 km/h AV. In tests SS12      laterally struck target vehicle from the force applied to
and SS13 and 22 to 24, where there was no snagging,     it, or from the amount of damage. A momentum-
the overall VDV was less than 1 . Tests 22 to 24 were   energy-restitution model (which includes angular
the only side-swipes to have a volunteer in the target  momentum) can be applied in the case where one
vehicle during the collision. The volunteer did not     axle of the target vehicle is undisplaced. If both axles
experience any significant displacements within the     are displaced, the MER model for front and rear-end
vehicle, and no discomfort was reported following       collisions can be applied by accounting for tire forces
those exposures, or 'doses'! For comparison,           at the sliding tires of the laterally struck vehicle.
longitudinal and lateral VDV's of 0.317 and 0.459             The severity of side-swipe impacts has been
were reported by Griffin for a small car on a city road.characterized by the lateral and longitudinal
Values around 2 were reported for farm tractors.        acceleration history. Those accelerations can be
                                                        compared to driving maneuvers (like accelerating,
   Table 14. Target vehicle vibration dose values.      braking or swerving), though peak accelerations often
                                                        briefly exceed those levels. Alternatively, the
    Test Closing Lateral Long. Overall                 acceleration history can be manipulated to compute a
              speed (m/s175) (m/s175) (m/s175)          vibration dose value, which allows comparison
            (km/h)                                      between side-swipe and other impacts.
     SS8 23.8 5.97 11.53 11.73                                Impacts where the target vehicle has a vertical or
                                                        significant rotational (several degrees of yaw)
    5510 25.9 5.71 6.51 7.31
                                                        component of motion have not been investigated.
    5511 27.0 7.74 15.16 15.41                                                  Human volunteer data are available from

                                                                         exposures to front, rear, lateral and side-swipe
    5512       8.6    0.05      0.23        0.23
                                                                         impacts. The severity of these staged impacts is
    5513       8.3    0.35      0.20        0.36                         known precisely, and can be compared to the
                                                                         occupant dynamics and existence/non-existence of
    5517 19.1 7.77 10.59 11.28
                                                                         symptoms. From these data it can be seen that
    5518      19.8      1.09     8.48        8.48                        estimates of impact severity should be as accurate as
    5519 20.2 13.48 5.04 13.54
                                                                         possible because symptoms that have not been
                                                                         observed at a given level may occur at only a slightly
      24    9.4     0.07       0.13        0.13                          higher level.
                                                                              In the volunteer tests, it is emphasized that the
DISCUSSION                                                               occupant dynamics often lead to either no symptoms,
                                                                         or to symptoms that lasted for only a few days. No
    Several staged collision test results have been                      physiological changes lasting longer than a few days
reported. The collisions are either front-end, rear-                     have been generated in the volunteer tests.
end, lateral or side-swipe. These four types of
collisions constitute the bulk of minor collisions which                        REAR END AND FRONT END COLLISIONS.
the authors are called on to investigate. A minor      Though front and rear impacts are dynamic
collision is defined as one where tire forces and/or   for cars, volunteer data indicate that occupants fare
restitution effects are not negligible. In order to        make
                                                       better   in front-end impacts than in rear-end impacts.
accurate estimates of the severity of these collisions,The severity, characterized as AV, tends to be
tire force and restitution effects must be considered.
                                                       associated with the onset of symptoms in rear-end
      Existing vehicle crash test data can often be    collisions at around 6.5 to 8 km/h AV and in front-end
applied to estimate the severity of a collision. This  collisions at around 12 to 20 km/h AV.
can be done for front-end or rear-end collisions by

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        A momentum-energy-restitution model can be                        absorption associated with the damage to the
used for predicting AV in a vehicle-to-vehicle collision                  vehicles. If the bullet car has isolators, then energy
from vehicle-to-barrier data. Care must be exercised                      absorption for that car can be predicted from vehicle-
when extrapolating vehicle-to-barrier data to cases                       to-barrier tests. Other data must be used to predict
with more isolator compression or damage.                                 the energy absorption of the target.
Estimates of energy absorption will likely be                                  Human volunteer motion is characterized by a
underestimated if an isolator has bottomed out.                           rocking of the upper body about the lap belt toward
        Limited comparison of vehicle-to-barrier and                      the struck side of the vehicle, which is actually the
vehicle-to-vehicle data suggest that some isolator                        vehicle moving underneath the occupant. The relative
equipped vehicles may have shorter impact durations displacement of the head and torso was minimal for
in vehicle-to-barrier impacts than in vehicle-to-vehicle                  the small number of staged collisions with a volunteer.
impacts. These differences in duration may be                             Once the car stops moving sideways, shortly after
sufficiently large to cause strain-rate sensitive                         impact, the occupant regains the seated position.
isolators to perform slightly differently in these two                    Actual vehicle tests differ from sled tests; in sled tests
test types.                                                               there is more motion of the volunteer's upper body
    In a rear-end impact, many vehicles will be                           because the sled does not return to its initial velocity a
undamaged at severities that are above the range                          short time after the onset of deceleration.

where human volunteers have reported neck and back
symptoms. This applies to vehicles that the authors                            SIDE-SWIPE COLLISIONS. At low closing
have tested, which were reported on previously and in                     speeds the target and bullet vehicles are apt to stick
the present work. Vehicles that do not meet the                           together. At higher closing speeds the bullet vehicle
standard to which the vehicles tested were built                          will continue past the target.
                                               As in lateral impacts, contact damage typically
(Canadian Motor Vehicle Safety Standard 215) may
perform differently.                                                      ends a few cm lower than where it began. This can
        In a front-end impact vehicle damage may                          be useful in determining the relative direction of the
precede occupant symptoms for lap and torso belt vehicles.
restrained occupants, based on available volunteer                               Isolator compression was observed on a bullet
data.                                                                     vehicle at an engagement angle of 16°, but not at 10°
                                                                          for similar impact speeds.
        LATERAL COLLISIONS. The dominant motion                                The target vehicle acceleration in the lateral and
for the target vehicle is sideways, even with both                         longitudinal directions can be characterized as a
vehicles in motion.                                                       disturbance that lasts on the order of 1 second, with
    Body panel damage can be inflicted to the targetbrief peaks (less than 50 ms) that rise above a
vehicle without introducing large lateral           background of sub-1g oscillations. Target vehicle
displacements. Unlike aligned impacts, the lateral  lateral and longitudinal acceleration peaks were
                                                    observed that exceeded values that the vehicle is
impact produces a small displacement for a given AV.
This is because the sideways motion of the car is   capable of generating in driving maneuvers, even
quickly arrested by tire side forces.                                     when there was no vehicle snagging.
        Contact damage on the target vehicle is often                         Characterizing the vehicle motion in a side-swipe
observed to end a few cm lower on the side of the                          collision as AV or peak acceleration may not give a
                                                  true
vehicle than where it began. This is due to the roll ofrepresentation of the severity of the impact. The
the target, where its struck side moves upward former
                                                   in     will have a low value because the duration is

response to the collision force, and the downward long and, except for a few peaks, the accelerations
pitch of the bullet.                                are low. The latter would only include peak values
    The use of a momentum-energy-restitution model have pulse widths typically less than 50 ms, which
                                                    that
(including angular momentum) for predicting Aco     may be short enough not to be felt by an occupant.
appears promising. Inputs to the model include           Methods of integrating the acceleration history of
duration (typically around 100 ms), restitution     the vehicle that are used as design guides for vehicles
(typically 0.2 to 0.6), and pre-impact speed of the that are subjected to longitudinal and lateral vibrations
bullet vehicle. That speed can be determined from        can be applied. One method is to compute the RMS
the circumstances of the collision (e.g. case of a       (Root Mean Square) acceleration. Or, for vibrations
bullet car backing out of a parking stall and hitting thewhere the peak values are much greater than the
                                                      RMS value (termed high crest factor) the vibration
side of a passing car) or by selecting it such that the
predicted energy absorption matches the energy        dose may be computed. The Vibration Dose Value

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(VDV) is the fourth root of the integration of the fourth                  4 McConnell, W.E., et al
power of the acceleration-time curve. For the side-                          "Analysis of Human Test Subject Kinematic
swipe collisions, the vibrations had high crest factors,                      Responses to Low Velocity Rear End Impacts", SAE
so were characterized by computing the vibration                             #930889.
dose.                                                                       5 Campell, K.
        In limited volunteer testing, no symptoms were                       "Energy Basis for Collision Severity", SAE #740565,
reported. The VDV was below 0.13 m/s1 75 in those                            Society of Automotive Engineers, Warrendale, PA,
tests. The VDV, computed for a rear-end collision                            1974.

with a AV of 8 km/h, was approximately 15 m/s1 7S.     6 Hight, P.V. & Lent-Koop, D.B.,
        HUMAN EXPOSURE. Further study of the             "The Correlation Between Delta-V, Barrier
concept of vibration dose, and similar methods           Equivalent Velocity and Crush in Automobile
applied to characterizing vehicle ride, is warranted .   Collisions", Proceedings of CMDRSC No. Ill, May 27
The vehicle motions studied in the various collision    - 30, 1984.
types have accelerations with directions, amplitudes   7 Kerkhoff, J. F., Husher, SE, Varat, M.S., Busenga
and frequencies that have been studied by engineers     A.M., Hamilton, K.
concerned with vehicle ride and its effects on comfort  An Investigation into Vehicle Frontal Impact
and performance. Certain levels of vibration dose        Stiffness, BEV and Repeated Testing for
may be associated with reduced comfort, fatigue, or      Reconstruction", SAE #930899, Society of
exposure limit24.                                       Automotive Engineers, Warrendale, PA, 1993.
     There appears to be some potential to produce     8 ASTM E 647 - 93 Society of Automotive Engineers,
symptoms in human volunteers in rear-end impacts        Warrendale, PA, 1974.
that does not appear to be present at similar severity                       "Standard Test Method for Measurement of Fatigue
levels in frontal and lateral impacts. Rear-end                              Crack Growth Rates"

impacts are also very common. Vehicle dynamics in     9 Howard,
                                                        a        R.P., Bomar, J, Bare, C.,
rear-end impact can be viewed as a single 5 to 10 Hz"Vehicle Restitution Response in Low Velocity
cycle in the longitudinal, forward direction. Seats thatCollisions", SAE #931842, Society of Automotive
are designed to minimize this type of vibration may     Engineers, Warrendale, PA, 1993.
have a positive influence on automotive safety.  10 Malmsbury, R.N., Eubanks, J.J.,
                                                   "Damage and/or Impact Absorber (Isolator)
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ACKNOWLEDGMENT
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                                                  Automotive Engineers, Warrendale, PA, 1994.
    This project would not have been possible without
                                                 11. Severy, D, Matthewson, J. and Bechtol, C.
the efforts the entire Maclnnis Engineering staff.
                                                   Controlled Automobile Rear-End Collisions, An
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                                                   Phenomena"Canadian Services Medical Journal,
vehicles, staging collisions, and analyzing test data:                       1955
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                                                                             "Rear Stiffness Coefficients Derived from Barrier
  "Characteristics of Specific Automobile Bumpers in
  Low-Velocity Impacts", SAE 940916.                                         Test Data", SAE 910120.


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#950352
Discussion
by Ralph Aronberg
Aronberg and Associates
Data and Methods for Estimating the Severity of Low Speed Impacts

            The authors have accumulated a reasonably sized database of "minor" collision information through their
own testing, as well as published results of other researchers. A great deal of litigation occurs as a results of
"minor" collisions. Research and publications in this area have been relatively limited, although increasing in recent
years. Additional research into any permanency, or belated symptomatology of tested volunteers would be of
interest.
       The authors explore an interesting concept of correlating "Vibration Dose Value" with injury potential.
However, in the great majority of real world accidents the necessary acceleration time histories required to compute
the VDV will not be available.




#950352
Discussion
by Michael S. Varat
JFK Engineering
Data and Methods for Estimating the Severity of Low Speed Impacts

        The authors are to be congratulated for producing research that will be widely used within the accident
reconstruction engineering community. The presented lateral and sideswipe test data will serve as a useful addition
to the growing database of low speed collision testing. Additionally, the analytical methods presented in the paper
may be applied even as additional test data is generated. Several important considerations, however, must be kept
in mind by the reader.
        All tested vehicles comply with CMVSS 215. However, bumper standards present in another country may
be different. Therefore, care must be exercised when applying specific test data to a vehicle that was built to
comply with different bumper standards. Often new test data must be generated.
        As stated by the authors (for both low and high speed collisions), EBS will equal Delta V only for impacts
between vehicles of equal weight and stiffness. Any EBS and Delta V differences must be accounted for when using
rigid barrier collision data to reconstruct a car to car collision, even at low speed.
        The authors submit an interesting application to low speed impacts of the Vibration Dose Value (VDV)
presented by Griffin (SAE Paper 860047). Further work may help to evaluate the validity of this particular VDV
application by solving for VDV threshold values through additional human volunteer testing. Lastly, regarding the
presented human volunteer testing: Although subjective complaints appear at a specified impact severity, it would
be expected that long-standing injury would appear at a higher impact severity.




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